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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,
v.                                                       Case No. 2:16-cr-14
                                                         HON. ROBERT HOLMES BELL
KEVIN BERNARD WILLIS,
ANTHONY JAMES BROWN,
MICHAEL PAUL KARPPINEN II,
and COLLEEN LYNN ARCHAMBEAU,

                      Defendanst.
_______________________________/

                                   ORDER OF DETENTION

         Defendants appeared before the undersigned on July 14, 2016 for initial

appearances on an indictment.

         The government moved for detention of all defendants and pretrial services

concurred. All defendants were appointed counsel and hearing on detention will be

scheduled as requested.

         Defendant shall be detained pending further proceedings.


         IT IS SO ORDERED.

                                              /s/ Timothy P. Greeley
                                           TIMOTHY P. GREELEY
                                           UNITED STATES MAGISTRATE JUDGE
Dated: 7/15/2016
